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 201 6A41241 :001                                     May 17, 2016

                                                     UNITED STATES DISTRICT COURT
                                                        DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                            [ION. SUSAN D. WIGENTON

                PLAINTIFF.                           CIVIL ACTION NO. 16-01986

                                                     NOFICE OF VOLENTARY DISMISSAL

 LYCA TEL, LLC.                                            Document filed electronically

                DEF EN DAN U


                The United States of America, plaintiff herein. through its undersigned counsel

 and pursuant to Rule 31 (A)(I 3(1) of the Federal Rules of Civil Procedure, hereby dismisses the

 action on its own behalf as to defendant Lyca Tel, LLC without prejudice.



                                                     PAUL J. FISHMAN
                                                     UNITED STATES ATTORNEY


                                              13v:   s/C[IRISI’OPI_IER I). AMORE
                                                     (IIRISfOPHI RI) \MORF
      So Ordered                                     \SSISF’V\[ I S \1 IOR\E’r
